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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                             CASE NO.:

  REBECCA TOWERS,
  as parent and natural guardian of
  KATIANNA TOWERS, a minor,

          Plaintiffs,

  v.

  ROYAL CARIBBEAN CRUISES LTD.,
  and JOHN DOES (1 – 10),

        Defendants.
  __________________________________/

                        COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff sues Defendant and alleges:

                                 PRELIMINARY ALLEGATIONS

       1. Plaintiff REBECCA TOWERS is a citizen of the state of Massachusetts, over the age of

          eighteen years and is otherwise sui juris. Plaintiff REBECCA TOWERS is the parent

          and natural guardian of KATIANNA TOWERS, a minor.

       2. Defendant, ROYAL CARIBBEAN CRUISES, LTD. (“ROYAL CARIBBEAN”), is a

          Liberian corporation with its principal place of business in Miami, Florida.

       3. Plaintiff REBECCA TOWERS does not know the true names of Defendants sued herein

          as JOHN DOES (1 – 10), inclusive, and therefore sues these Defendants by such

          fictitious names until their true identities are determined. JOHN DOES (1 – 10), were

          passengers aboard the Defendant ROYAL CARIBBEAN’s vessel Oasis of the Seas, who

          brutally sexually assaulted and gang raped KATIANNA TOWERS, a minor.



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     4. The matter in controversy exceeds, exclusive of interests and costs, the sum specified by

        28 U.S.C. § 1332. In the alternative, if diversity jurisdiction does not apply, then this

        matter falls under the admiralty and maritime jurisdiction of this Court.

     5. This action is being pursued in this Court, as opposed to state court as otherwise allowed

        by the Saving to Suitors Clause of 28 U.S.C. §1333 because ROYAL CARIBBEAN

        unilaterally inserts a forum clause into its cruise tickets that requires its passengers to file

        cruise-related suits only in this Federal District and Division, as opposed to any other

        place in the world.

     6. Defendant ROYAL CARIBBEAN at all times material hereto, personally or through an

        agent:

            a. Operated, conducted, engaged in or carried on a business venture in this state
               and/or county or had an office or agency in this state and/or county;

            b. Was engaged in substantial activity within this state;

            c. Operated vessels in the waters of this state;

            d. Committed one or more of the acts stated in Florida Statutes, §§ 48.081, 48.181 or
               48.193;

            e. The acts of Defendant set out in this Complaint occurred in whole or in part in
               this county and/or state;

            f. The Defendant, as a common carrier, was engaged in the business of providing to
               the public and to the Plaintiff in particular, for compensation, vacation cruises
               aboard the vessel, Oasis of the Seas.

     7. Defendant is subject to the jurisdiction of the Courts of this state.

     8. The causes of action asserted in this Complaint arise under the General Maritime Law of

        the United States.

     9. At all times material hereto, Defendant owned, operated, managed, maintained and/or

        controlled the vessel, Oasis of the Seas.
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     10. Defendant ROYAL CARIBBEAN, at all relevant times, and for at least a decade prior to

        the incident complained of in this lawsuit, knew of the serious risk of crime and injury to

        its passengers aboard its vessels, because the Defendant ROYAL CARIBBEAN had

        experienced and had actual knowledge of such crimes and injuries, perpetrated aboard its

        vessels both by crew and by other passengers.          These crimes and injuries, upon

        information and belief, included but were not limited to, assaults and batteries and sexual

        crimes, and other violence between passengers and between passengers and crew.

     11. Defendant ROYAL CARIBBEAN further had experienced and had actual knowledge of

        minors wrongfully being provided with or allowed to gain access to alcohol, and then

        becoming the victim of assaults and batteries and sexual crimes, perpetrated aboard its

        vessels both by crew and by other passengers.

     12. Defendant ROYAL CARIBBEAN also knew, or should have known, from previous

        experience, that the risk of crime and injury against passengers aboard its vessels tended

        to be greatest in passenger cabins and in bars.

     13. Defendant ROYAL CARIBBEAN, at all relevant times, and upon information and belief,

        anticipated and foresaw that crimes would be perpetrated on passengers aboard its vessels

        in the future.

     14. Defendant ROYAL CARIBBEAN, at all relevant times, chooses to sell alcohol to

        passengers aboard its vessels. Upon information and belief, such beverage sales are

        among the top source of onboard revenue, which determines the profitability of each

        voyage. Upon further information and belief, Defendant ROYAL CARIBBEAN derives

        hundreds of millions of dollars in annual revenue from this source alone.




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     15. Defendant ROYAL CARIBBEAN knew, or should have known, that the high risk to its

        passengers of crime and injury aboard the vessels was enhanced by Defendant ROYAL

        CARIBBEAN’s sale of copious quantities of alcohol on its vessels.

     16. Defendant ROYAL CARIBBEAN knew, or should have known of the need to prevent

        minors wrongfully being provided with or allowed to gain access to alcohol, both by

        crew and by other passengers.

     17. Defendant ROYAL CARIBBEAN, at all relevant times, advertises and markets its

        cruises and vessels in a way calculated to induce prospective cruisers to sail on its

        vessels. In doing so, Defendant ROYAL CARIBBEAN deliberately emphasized the

        positives of its cruises and vessels, almost to the exclusion of any negatives, such as the

        risk of crime and injury aboard its vessels, which was well-known to Defendant ROYAL

        CARIBBEAN at all relevant times. As a consequence, prospective passengers did not

        receive sufficient information from Defendant ROYAL CARIBBEAN to make fully

        informed decisions to book a cruise, and/or to fully comprehend the need to take

        precaution for their own safety, and that of minors, while aboard its vessels.

     18. Instances of rapes and/or sexual assault occur aboard Defendant’s vessels at an alarming

        rate. Yet Defendant ROYAL CARIBBEAN fails to take adequate steps or provide

        adequate security to prevent such rapes and/or sexual assaults, and fails to warn its

        passengers of the growing epidemic and rape and sexual assault at sea.            ROYAL

        CARIBBEAN’s motive for failing to warn its passengers is financial in nature; that is,

        ROYAL CARIBBEAN willfully chooses not to warn its passengers about rapes and

        sexual assaults aboard its ships so as not to scare any prospective passengers away. Such

        willful and outrageous conduct on the part of the defendant exposes them to punitive

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        damages. See Lobegeiger v. Celebrity Cruises, Inc., No. 11-21620, 2011 WL 3703329,

        2011 U.S. Dist. LEXIS 93933 (S.D. Fla. Aug. 23, 2011).

     19. At the time of booking, and at all other relevant times, the Plaintiff and KATIANNA

        TOWERS’ grandparents, saw, read, heard about, and relied upon the aforementioned

        superlative information disseminated to the public by the Defendant ROYAL

        CARIBBEAN regarding the cruise experience aboard its vessels, from which the

        Defendant ROYAL CARIBBEAN deliberately omitted any mention of a general risk of

        harm to passengers, including minors, aboard its vessels.

     20. At the time of booking, and at all other relevant times, neither the Plaintiff, KATIANNA

        TOWERS’ grandparents, nor her other family members, were made aware of, in any

        reasonable fashion, of the risks and/or of prior occurrences of crime aboard Defendant

        ROYAL CARIBBEAN’s vessels; and they therefore were otherwise unaware of any need

        to rethink going on the cruise and/or to take any special precautions to protect

        themselves, including the minor KATIANNA TOWERS.

     21. On or about December 26, 2015, Plaintiff KATIANNA TOWERS boarded the vessel

        with her grandparents and two sisters for a seven day cruise to celebrate the Christmas

        holiday and New Year.

     22. At all relevant times Plaintiff KATIANNA TOWERS was a fare paying passenger and

        lawfully aboard the vessel.

     23. On or about the evening of December 26, 2015, while in a public lounge and other public

        areas aboard the vessel, several adult male passengers, DOES (1 -10), purchased multiple

        alcoholic beverages for the minor Plaintiff KATIANNA TOWERS causing her to

        become highly intoxicated. The purchase of and provision of alcohol to the minor

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        Plaintiff KATIANNA TOWERS was done in plain view of multiple crewmembers who

        saw or should have seen it. These public lounges and other public areas were also under

        surveillance by the ship’s security cameras and personnel. Neither the crewmembers

        present on the scene nor those who were watching or supposed to be watching the

        surveillance cameras took any action to prevent the service of alcohol to the minor

        Plaintiff KATIANNA TOWERS.

     24. In view of multiple crewmembers and still under surveillance by the ship’s security

        cameras, these adult male passengers, DOES (1 – 10), steered the minor Plaintiff

        KATIANNA TOWERS, who was obviously drunk, disoriented and unstable, to a cabin

        where they brutally assaulted and gang raped her.

     25. Neither the crewmembers present on the scene nor those who were watching or supposed

        to be watching the surveillance cameras took any action to assist an obviously

        incapacitated minor Plaintiff KATIANNA TOWERS as she was taken away be several

        adult male passengers DOES (1 – 10).

                                     CAUSES OF ACTION

                                            COUNT I

     NEGLIGENCE AGAINST ROYAL CARIBBEAN FOR SEXUAL ASSAULT/RAPE

        Plaintiff realleges, adopts and incorporates by reference the allegations in paragraphs 1

        through 25 as though alleged originally herein.

     26. At all times material hereto, it was the duty of Defendant ROYAL CARIBBEAN to

        provide KATIANNA TOWERS with reasonable care under the circumstances while they

        were passengers aboard the Oasis of the Seas.




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     27. On or about December 26, 2015, KATIANNA TOWERS was injured due to the fault

        and negligence of Defendant ROYAL CARIBBEAN, and/or its agents, servants and/or

        employees as follows:

           a. Failing to provide reasonably safe conditions for Plaintiff KATIANNA TOWERS
              aboard Defendant’s vessel. Said safe conditions include, but are not limited to, the
              prevention of permitting an atmosphere to exist wherein persons could rape
              and/or sexually assault passengers;

           b. Failing to adequately monitor the public areas;

           c. Failing to adequately monitor passengers;

           d. Failing to provide adequate security aboard the vessel;

           e. Failing to warn passengers of the dangers of sexual assaults aboard Defendant’s
              ships;

           f. Failing to warn passengers of the prevalence of sexual assaults aboard
              Defendant’s ships;

           g. Failing to warn passengers of the prevalence of sexual assaults on minors aboard
              Defendant’s ships;

           h. Failing to adequately monitor and control the conduct of minors aboard the
              vessel;

           i. Failing to protect passengers, especially minors, from sexual assaults, physical
              batteries and/or rapes by other passengers;

           j. Failing to promulgate and/or enforce adequate policies and/or procedures to
              prevent sexual assaults on minors aboard Defendant’s ships;

           k. Failing to provide adequate training for its crewmembers;

           l. Failing to adequately monitor passengers, especially minor passengers, so as to
              keep them away from dangerous passengers and/or dangerous situations;

           m. Failing to provide adequate supervision and/or security for minor passengers
              aboard its vessels;

           n. Failing to promulgate and/or enforce adequate policies and/or procedures to
              prevent alcohol being served to minors;

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           o. Failing to exercise reasonable care for the safety of its passengers, and by creating
              a dangerous condition by refusing to intervene to prevent the service of alcohol to
              a minor and/or to assist an obviously intoxicated minor, when a reasonable and
              prudent crewmember would have taken action;

           p. Violating the International Safety Management Code by failing to have an
              adequate Safety Management System Manual and/or by failing to adequately
              implement and follow the Safety Management System Manual they have, as it
              related to protecting passengers from sexual assault and/or rape aboard
              Defendant’s ships and service of alcoholic beverages to minors, all of which
              caused Plaintiffs to be injured.

           q. In other manners not yet known, but which are expected to be revealed in
              discovery.

     28. As a direct and proximate result of the negligence of ROYAL CARIBBEAN,

        KATIANNA TOWERS was directly and proximately caused to be sexually assaulted

        and/or physically battered and/or gang raped by JOHN DOES (1 – 10) passengers, and

        suffered severe emotional distress.

     29. As a result of the foregoing, the Plaintiff KATIANNA TOWERS was injured about her

        body and extremities, pain and suffering; mental anguish; inconvenience; great shame,

        psychological trauma, psychological scarring, embarrassment, humiliation, aggravation

        of preexisting conditions, the loss of the capacity for the enjoyment of life; and other

        mental and/or nervous disorders, and has incurred medical expenses in the past and will

        incur medical expenses in the future. The injuries are permanent and/or continuing in

        nature and she will suffer losses and impairments in the future. Further, Plaintiff lost the

        value of their vacation cruise.

               WHEREFORE, Plaintiff demands judgment for all damages recoverable under

        the law against the Defendant and demands trial by jury.




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                                            COUNT II

                   INTENTIONAL TORT AGAINST JOHN DOES (1 – 10)
                           FOR SEXUAL ASSAULT/RAPE

        Plaintiff realleges, adopts and incorporates by reference the allegations in paragraphs 1

        through 25 as though alleged originally herein.

     30. On or about December 26, 2016, JOHN DOES (1 – 10) sexually assaulted, battered and

        gang raped KATIANNA TOWERS.

     31. As a direct and proximate result of the intentional acts of JOHN DOES (1 – 10)

        KATIANNA TOWERS was directly and proximately caused to be sexually assaulted

        and/or physically battered and/or raped by CASEY DICKERSON and other passengers

        and suffered severe emotional distress.

     32. As a result of the foregoing, the Plaintiff KATIANNA TOWERS was injured about her

        body and extremities, pain and suffering; mental anguish; inconvenience; great shame,

        psychological trauma, psychological scarring, embarrassment, humiliation, aggravation

        of preexisting conditions, the loss of the capacity for the enjoyment of life; and other

        mental and/or nervous disorders, and has incurred medical expenses in the past and will

        incur medical expenses in the future. The injuries are permanent and/or continuing in

        nature and she will suffer losses and impairments in the future. Further, Plaintiff lost the

        value of their vacation cruise.

               WHEREFORE, Plaintiff demands judgment for all damages recoverable under

        the law against the Defendants and demands trial by jury.




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                                           COUNT III

                  PUNITIVE DAMAGES AGAINST ROYAL CARIBBEAN

      Plaintiff realleges, adopts and incorporates by reference the allegations in paragraphs 1

      through 25 as though alleged originally herein.

     33. Punitive damages have long been recognized in maritime tort actions and may be

        awarded where Defendant’s actions were intentional, deliberate and/or so wanton and

        reckless as to demonstrate a conscious disregard of the rights of others. Here, ROYAL

        CARIBBEAN’s conduct warrants the imposition of punitive damages.

     34. Instances of rapes and/or sexual assault occur aboard Defendant’s vessels at an alarming

        rate. Yet Defendant ROYAL CARIBBEAN fails to take adequate steps or provide

        adequate security to prevent such rapes and/or sexual assaults, and fails to warn its

        passengers of the growing epidemic and rape and sexual assault at sea.          ROYAL

        CARIBBEAN’s motive for failing to warn its passengers is financial in nature; that is,

        ROYAL CARIBBEAN willfully chooses not to warn its passengers about rapes and

        sexual assaults aboard its ships so as not to scare any prospective passengers away. Such

        willful and outrageous conduct on the part of the defendant exposes them to punitive

        damages. See Lobegeiger v. Celebrity Cruises, Inc., No. 11-21620, 2011 WL 3703329,

        2011 U.S. Dist. LEXIS 93933 (S.D. Fla. Aug. 23, 2011).

     35. As a result of the foregoing, the Plaintiff KATIANNA TOWERS was injured about her

        body and extremities, pain and suffering; mental anguish; inconvenience; great shame,

        psychological trauma, psychological scarring, embarrassment, humiliation, aggravation

        of preexisting conditions, the loss of the capacity for the enjoyment of life; and other

        mental and/or nervous disorders, and has incurred medical expenses in the past and will

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        incur medical expenses in the future. The injuries are permanent and/or continuing in

        nature and she will suffer losses and impairments in the future. Further, Plaintiff lost the

        value of their vacation cruise.

                 WHEREFORE, Plaintiff demands judgment for all damages recoverable under

        the law against the Defendant, including punitive damages, and demands trial by jury.

                                  COUNT IV
                   PUNITIVE DAMAGES AGAINST JOHN DOES (1 – 10)

        Plaintiff realleges, adopts and incorporates by reference the allegations in paragraphs 1

        through 25 as though alleged originally herein.

     36. Punitive damages have long been recognized in maritime tort actions and may be

        awarded where Defendant’s actions were intentional, deliberate and/or so wanton and

        reckless as to demonstrate a conscious disregard of the rights of others. Here, the

        intentional, deliberate and wanton conduct of JOHN DOES (1 – 10) warrants the

        imposition of punitive damages.

     37. As a result of the intentional, deliberate, wanton and/or reckless conduct of JOHN DOES

        (1 – 10), the Plaintiff KATIANNA TOWERS was injured about her bodies and

        extremities, pain and suffering; mental anguish; inconvenience; great shame,

        psychological trauma, psychological scarring, embarrassment, humiliation, aggravation

        of preexisting conditions, the loss of the capacity for the enjoyment of life; and other

        mental and/or nervous disorders, and has incurred medical expenses in the past and will

        incur medical expenses in the future. The injuries are permanent and/or continuing in

        nature and she will suffer losses and impairments in the future. Further, Plaintiff lost the

        value of their vacation cruise.



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               WHEREFORE, Plaintiff demands judgment for all damages recoverable under

         the law against the Defendants, including punitive damages, and demands trial by jury.

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   Date: December 12, 2016,




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